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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION


  FRACTUS, S.A.,

                                              Plaintiff,

          v.                                               Civil Action No. 6:09-CV-00203-LED

  SAMSUNG ELECTRONICS CO., LTD., et al.,                          JURY TRIAL DEMANDED

                                           Defendants.


               JOINT MOTION TO ENTER DOCKET CONTROL ORDER AND RULE ON
                       DISPUTED ISSUES IN DISCOVERY ORDER


                    The parties today are filing a joint agreed docket control order. In addition, the

  parties are filing a discovery order that is agreed in part and disputed in part. The parties have

  highlighted the disputes in yellow, with their respective arguments in footnotes. The parties

  respectfully request that the Court rule on the disputed issues in the discovery order and enter an

  appropriate order. Attachment 1 is the Agreed Docket Control Order. Attachment 2 is the

  Agreed and Disputed Discovery Order.


  DATED: November 20, 2009              Respectfully submitted,



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          I hereby certify that all counsel of record, who are deemed to have consented to

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  document via the Court’s CM/ECF system per Local Rule CD-5(a)(3).



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